Case 2:O4-cr-20469-.]DB Document 38 Filed 06/02/05 Page 1 of 2 Page|D 43

 

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P|aintiff,

VS.
CR. NO. 04-20469-03-3

LEVOND MABONE (FUG)

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FYENG PERiOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on |Vlay 31 , 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to Ju|y 5, 2005 With a f£||_o!;
up report date of Thursdav. June 23, 2005. at 2:30 p.m., in Courtroom 1, 11th F|oor
of the Federa| Building, I\/lemphis, TN.

The period from June 17, 2005 through Juiy 15, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends of]ustice served in allowing for additional time

to prepare outweigh the need for a edy tria|.
n is so oRoERED this ida J ne, 2005.

J D NlEL BR:EN
NiT D STATES DlSTR| TJUDGE

 

 

 

 

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This notice confirms a copy of the document docketed as number 38 in
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Honorable J. Breen
US DISTRICT COURT

